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                          THE UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY
                                 NEWARK DIVISION


  Woodrow Goodwill,                                     Civil Action No.


                             Plaintiff,
                                                        COMPLAINT
              – against–

  Synchrony Bank and TransUnion, LLC,

                             Defendants.


                                          COMPLAINT

          Plaintiff, Woodrow Goodwill (hereinafter “Plaintiff”), by and through his

attorneys, the Law Offices of Robert S. Gitmeid & Associates, PLLC, by way of Complaint

against     Defendants,    Synchrony      Bank       (“Synchrony”)   and   TransUnion,   LLC

(“TransUnion”) alleges as follows:

                                     INTRODUCTION

      1. This is an action for damages brought by an individual consumer for Defendants’

            violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. (the

            “FCRA”), the New Jersey Fair Credit Reporting Act, N.J. Stat. §56:11‐28, et seq.

            (the “NJ FCRA”), and other claims related to unlawful credit reporting practices.

            The FCRA and NJ FCRA prohibits furnishers and credit reporting agencies

            (“CRAs”) from falsely and inaccurately reporting consumers’ credit information.




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                                       PARTIES

     2. Plaintiff, Woodrow Goodwill, is an adult citizen of New Jersey, domiciled in

        Orange, New Jersey.

     3. Plaintiff is a "consumer" as defined by 15 U.S.C. § 1681a(c) of the FCRA.

     4. Defendant Synchrony is a “furnisher” of consumer credit information as that

        term is used in Section 1681s-2 of the FCRA. Defendant Synchrony does

        business throughout the country and in the state of New Jersey.

     5. Defendant TransUnion is a limited liability company, doing business throughout

        the country and in the state of New Jersey. TransUnion is a “consumer reporting

        agency” as defined in Section 1681a(f) of the FCRA. Trans Union is one of the

        largest CRAs in the world.



                              JURISDICTION AND VENUE

     6. This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

        § 1331 because the rights and obligations of the parties in this action arise out of

        15 U.S.C. § 1681 and 15 U.S.C. § 1681p, which provides that an action to enforce

        any liability created under 15 U.S.C. § 1681 may be brought in any appropriate

        United States District Court, without regard to the amount in controversy.

     7. Venue is proper pursuant to 28 U.S.C. § 1391 (b)(2) because a substantial part

        of the events and omissions giving rise to Plaintiff’s claims occurred in New

        Jersey.




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                               FACTUAL ALLEGATIONS

     8. Defendant Synchrony issued an account ending in 5959 to Plaintiff. The account

        was routinely reported on Plaintiff’s consumer credit report.

     9. The consumer report at issue is a written communication of information

        concerning Plaintiff’s credit worthiness, credit standing, credit capacity,

        character, general reputation, personal characteristics, or mode of living which

        is used or for the purpose of serving as a factor in establishing the consumer’s

        eligibility for credit to be used primarily for personal, family, or household

        purposes as defined by 15 U.S.C. § 1681a(d)(1) of the FCRA.

     10. On or about September 11, 2020, Plaintiff and Selip & Stylianou, LLP on behalf

        of Synchrony Bank (“Synchrony”) entered into a settlement agreement for the

        above referenced account. A copy of the settlement agreement is attached hereto

        as Exhibit A.

     11. Pursuant to the terms of the settlement, Plaintiff was required to make monthly

        payments totaling $1,477.00 to settle and close his Synchrony account.

     12. Plaintiff, via his debt settlement representative, timely made the requisite

        settlement payments. A paid in full letter is attached hereto as Exhibit B.

     13. However, over months later, Plaintiff’s account continued to be negatively

        reported.

     14. In particular, on a requested credit report dated October 20, 2021, Plaintiff’s

        Synchrony account was reported with a status of “CHARGE OFF,” a balance of

        $1,926.00 and a past due balance $1,926.00. The relevant portion of Plaintiff’s

        credit report is attached hereto as Exhibit C.



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     15. This tradeline was inaccurately reported. As evidenced by the settlement

        agreement and proof of payment, the account was settled for less than the full

        balance and must be reported as settled with a balance of $0.00.

     16. On or about October 20, 2021, Plaintiff, via his attorney at the time, notified

        Defendants of a dispute with completeness and/or accuracy of the reporting of

        Plaintiff’s Synchrony account. A redacted copy of the dispute letter is attached

        hereto as Exhibit D.

     17. Therefore, Plaintiff disputed the accuracy of the derogatory information reported

        by Synchrony to credit reporting agencies in accordance with 15 U.S.C. § 1681i

        of the FCRA.

     18. In November of 2021, Plaintiff requested updated credit reports for review. The

        tradeline for Plaintiff’s Synchrony account remained inaccurate, as Defendants

        failed to correct the inaccuracy. The relevant portion of the November 2021

        credit report is attached hereto as Exhibit E.

     19. Upon information and belief, TransUnion did not notify Synchrony of the dispute

        by Plaintiff in accordance with the FCRA and NJ FCRA.

     20. Alternatively, if TransUnion did notify Synchrony, Synchrony failed to properly

        investigate and delete the tradeline or properly update the tradeline on Plaintiff’s

        credit reports.

     21. If Synchrony had performed a reasonable investigation of Plaintiff’s dispute,

        Plaintiff’s Synchrony account would have been updated to reflect a “settled”

        status with a balance of $0.00.




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     22. Despite the fact that Synchrony has promised through its subscriber agreements

        or contracts to accurately update accounts, Synchrony has nonetheless willfully,

        maliciously, recklessly, wantonly, and/or negligently failed to follow this

        requirement as well as the requirements set forth under the FCRA, which has

        resulted in the intended consequences of this information remaining on

        Plaintiff’s credit reports.

     23. Defendants failed to properly maintain and failed to follow reasonable

        procedures to assure maximum possible accuracy of Plaintiff’s credit

        information and Plaintiff’s credit reports, concerning the account in question,

        thus violating the FCRA and the NJ FCRA. These violations occurred before,

        during, and after the dispute process began with TransUnion.

     24. At all times pertinent hereto, Defendants were acting by and through their agents,

        servants and/or employees, who were acting within the scope and course of their

        employment, and under the direct supervision and control of the Defendants

        herein.

     25. At all times pertinent hereto, the conduct of Defendants, as well as that of their

        agents, servants and/or employees, was malicious, intentional, willful, reckless,

        negligent and in wanton disregard for federal law and the rights of the Plaintiff

        herein.




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                            FIRST CAUSE OF ACTION
                             (Fair Credit Reporting Act)

     26. Plaintiff reasserts and incorporates herein by reference all facts and allegations

        set forth above.

     27. Trans Union is a “consumer reporting agency,” as codified at 15 U.S.C. §

        1681a(f).

     28. Synchrony is reporting inaccurate credit information concerning Plaintiff to one

        or more credit bureaus as defined by 15 U.S.C. § 1681a of the FCRA.

     29. Plaintiff notified Defendants of a dispute on the account’s completeness and/or

        accuracy, as reported.

     30. Synchrony failed to complete an investigation of Plaintiff’s written dispute and

        provide the results of an investigation to Plaintiff and the credit bureaus within

        the 30-day statutory period as required by 15 U.S.C. § 1681s-2(b).

     31. Synchrony failed to promptly correct the inaccurate information on Plaintiff’s

        credit reports in violation of 15 U.S.C. § 1681s-2(b).

     32. TransUnion failed to delete information found to be inaccurate, reinserted the

        information without following the FCRA, or failed to properly investigate

        Plaintiff’s disputes.

     33. TransUnion failed to maintain and failed to follow reasonable procedures to

        assure maximum possible accuracy of Plaintiff’s credit reports, concerning the

        account in question, violating 15 U.S.C. § 1681e(b).

     34. As a result of the above violations of the FCRA, Plaintiff suffered actual damages

        in one or more of the following categories: lower credit score, denial of credit,

        embarrassment and emotional distress caused by the inability to obtain financing

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        for everyday expenses, rejection of credit card application, higher interest rates

        on loan offers that would otherwise be affordable and other damages that may be

        ascertained at a later date.

     35. As a result of the above violations of the FCRA, Defendants are liable to Plaintiff

        for actual damages, punitive damages, statutory damages, attorney’s fees and

        costs.



                          SECOND CAUSE OF ACTION
                        (New Jersey Fair Credit Reporting Act)

     36. Plaintiff reasserts and incorporates herein by reference all facts and allegations

        set forth above.

     37. TransUnion failed to delete information found to be inaccurate, reinserted the

        information without following the NJ FCRA, or failed to properly investigate

        Plaintiff’s disputes.

     38. TransUnion failed to complete an investigation of Plaintiff’s written dispute and

        provide the results of an investigation to Plaintiff within the 30-day statutory

        period as required by NJ FCRA, N.J. Stat. §C.56:11-36f(1).

     39. TransUnion failed to delete information found to be inaccurate, reinserted the

        information without following the NJ FCRA, or failed to properly investigate

        Plaintiff’s disputes as required by NJ FCRA, N.J. Stat. §C.56:11-36(a) and N.J.

        Stat. §C.56:11-36 (e).

     40. As a result of the above violations of the NJ FCRA, Plaintiff suffered actual

        damages in one or more of the following categories: lower credit score and credit

        rating, denial of credit, embarrassment and emotional distress caused by the

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           inability to obtain financing for everyday expenses, rejection of credit card

           application, higher interest rates on loan offers that would otherwise be

           affordable and other damages that may be ascertained at a later date.

      41. As a result of the above violations of the NJ FCRA, Defendants are liable to

           Plaintiff for actual damages, punitive damages, statutory damages, attorney’s

           fees and costs.

      WHEREFORE, Plaintiff demands that judgment be entered against Defendants as

follows:

       1. That judgment be entered against Defendants for actual damages pursuant
          to 15 U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o;
       2. That judgment be entered against Defendants for punitive damages
          pursuant to 15 U.S.C. § 1681n;
       3. That the Court award costs and reasonable attorney's fees pursuant to 15
          U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o;
       4. That judgment be entered against Defendants for actual damages pursuant
          to N.J. Stat. §C.56:11-38 or alternatively, N.J. Stat. §C.56:11-39;
       5. That judgment be entered against Defendants for punitive damages
          pursuant to N.J. Stat. §C.56:11-38;
       6. That the Court award costs and reasonable attorney's fees pursuant to N.J.
          Stat. §C.56:11-38 or alternatively, N.J. Stat. §C.56:11-39; and
       7. That the Court grant such other and further relief as may be just and proper.

                             DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands

trial by jury in this action of all issues so triable.

                                 Respectfully Submitted,

                                 Law Offices of Robert S. Gitmeid & Associates, PLLC

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